




Dismissed and Memorandum Opinion filed April 23, 2009








Dismissed
and Memorandum Opinion filed April 23, 2009.

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-08-01067-CV

____________

&nbsp;

CATHY and JAMES GUNDERMAN, Appellants

&nbsp;

V.

&nbsp;

TEXSUN SWIMMING POOLS &amp; SPAS,
INC., Individually and d/b/a TEXSUN POOLS, Appellee

&nbsp;



&nbsp;

On Appeal from the 334th District
Court

Harris County, Texas

Trial Court Cause No.
2006-39384

&nbsp;



&nbsp;

M E M O R
A N D U M&nbsp; &nbsp;O P I N I O N

This
appeal is from a judgment signed September 5, 2008.&nbsp; No clerk=s record has been filed.&nbsp; The clerk
responsible for preparing the record in this appeal informed the court
appellant did not make arrangements to pay for the record.&nbsp; 








On March
26, 2009, notification was transmitted to all parties of the Court's intent to
dismiss the appeal for want of prosecution unless, within fifteen days,
appellant paid or made arrangements to pay for the record and provided this
court with proof of payment.&nbsp; See Tex.
R. App. P. 37.3(b).

Appellant
has not provided this court with proof of payment for the record. Accordingly,
the appeal is ordered dismissed.

&nbsp;

PER
CURIAM

&nbsp;

Panel consists of Justices Anderson, Guzman, and
Boyce. 

&nbsp;





